Mark Cole, et al. v. Colonial Penn Life Insurance Company et al. (State Case No.: 23CV012045)




                                Exhibit
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DEFENDANT COLONIAL PENN LIFE INSURANCE COMPANY’S NOTICE OF REMOVAL
                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 28068491
Notice of Service of Process                                                                            Date Processed: 11/28/2023

Primary Contact:           Terri Scott
                           CNO Financial Group, Inc.
                           11825 Pennsylvania St
                           Carmel, IN 46032-4555

Electronic copy provided to:                   Steven Huffer

Entity:                                       Colonial Penn Life Insurance Company
                                              Entity ID Number 2425598
Entity Served:                                Colonial Penn Life Insurance Company
Title of Action:                              Mark Cole vs. Colonial Penn Life Insurance Company
Matter Name/ID:                               Mark Cole vs. Colonial Penn Life Insurance Company (14902947)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Sacramento County Superior Court, CA
Case/Reference No:                            23CV012045
Jurisdiction Served:                          California
Date Served on CSC:                           11/27/2023
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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 Todd M. Fxiedman, Adiiata R Ba+.on 21031 Vent3ar'a Blvd., Ste. 340 Woodland Hials, t;A 91364, 323-306-4234
DArE:                                   2023                                                 Clerk, by                             K. JOHNSON                                   Deputy
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     Todd M. Friedman, S(3fJ 216752, Law Offices of Todd M. Friedman,
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    121031 Ventura Blvd., Suite 340, Woodland Wills, CA 91364

                 i ra.fPHata: rio.: 323-306, 4234                     Fax rua. rorero,jno• 866-633-0228
                e.r:,Nt•,u;oRess: tffriedman@todd6aw.com
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     SUPERiOR C:QURT OF CALfFOF2NIA, COUN't'Y QF SACRAMEPITO
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         Chr;ck one box below for the case type that best describes thi, i;ase:
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    far:tors requiriny exccptionnl judicial managernent:
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6, If there are any known related cases, file and sene a not?ce of reltltsd case. !You rrray use form CtLf-'Jt5.j
Date: November 20, 2023                                                                                          ~
Todd M. Friedman
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  e If this case i:t complex under rulr: 3.4()t7 et seq, of th(: Califomia P.ulFs of C.7uFt, you rnttsl' serve a eopy of Riis cove• shael rrn all
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  To P9aintiffs and Others Filing First Papers. If you are fiiing a first paper (for example, a complaint) in a civil case, you maast
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
  To assist you in compieting the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civi[ case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
  in a sum stated to be certain that is not more than $25,000, exclusive of interest and attomey's fees, arising from a transaction in which
 property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rufes, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties In Cornplesc Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its frst appearance a joinder in the
 plaintiffls designation, a counter-designation that the case is not compiex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                      CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                          Provisionally Complex Civll Litigation (Cal.
      Auto (22)-Personal Injury/Property           Breach of Conrac
                                                                  t tMrarranty (06)                Rules of Court Rutes 3.400-3.403)
           DamagelWrongful Death                       Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
        Uninsured Motorist (46) (if the                    Contract (not unlawful detainer              Construction Defect (10)
         case invo/ves an uninsured                            or wrongful eviction)                    Claims Involving Mass Tort (40)
         motorist c/aim subject to                     ContractM/arranty Breach-Seller                  Securities Litigation (28)
         arb/tration, check this ftem                      Plalntlff (not frraud or neg/igence)         Environmental/Toxic Tort (30)
         instead ofAuto)                               Negligent Breach of Contract/                    Insurance Coverage Claims
  tither PIIPDM (Personal Injury/                          Warranty                                           (arising from provisionally complex
  Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                     case type listed above) (41}
  Tort                                             Collections (e.g., money owed, open             Enforcement of Judgmerlt
      Asbestos (04)                                    book accounts) (09)                           Enforcement of Judgment (20)
        Asbestos Property Damage                       Collection Case-Seller Plaintiff                  Abstract of Judgment (Out of
        Asbestos Personal Injury/                      Other Promissory Note/Collections                     County)
            Wrongful Death                                  Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                   domestic relations)
           toxiclenvironmental) (24)                   comp/ex) (18)                                  Sister State Judgment
       Medical Ma[practice (45)                        Auto Subrogation                               Administrative Agency Award
          Medical Malpractice-                         Other Coverage                                     (not unpaid taxes)
               Physicians & Surgeons               Other Contrtract (37)                              Petition/Certification of Entry of
       Other Professional Health Care                  Contractual Fraud                                   Judgment on Unpaid Taxes
            Malpractice                                Other Contract Dispute                         Other Enforcement of Judgment
       Other PIJPDIWD (23)                      Real Property                                               Case
            Premises Liability (e.g., slip          Eminent Domain/[nverse                         Nliscellaneous Civil Complaint
                and fall)                              Condemnation (14)                               RICO (27)
            Intentional Bodily Injury/PDM(D         Wrongful Eviction (33)                             Other Complaint (not specffied
                 (e.g., assault, vandalism)         Other Real Property (e.g., quiet fitle) (26)           above) (42)
            Intentional Infliction of                  Writ of Possession of Real Property                Declaratory Relief Only
                 Emotional Distress                     Mortgage Foredosure                                Injunctive Relief Only (non-
            Negligent Infliction of                    Quiet TiUe                                             harassment)
                Emotional Distress                     Other Real Property (not eminent                    Mechanics Lien
            Other PIIPD/WD                             domain, landlord/tenant, or                         Other Commercial Complaint
  Non-PI/PD!lfi4D (Other) Tort                         foreclosure)                                              Case (non-fort/non-comp/ex)
     Business Tort/Unfair Business              Uniawful Detalner                                            Oth®r Civil Complaint
         Practice (07)                             Commercial (31)                                               (non-tort/non-complex)
     Civil Rights (e.g., discrirnination,          Residential (32)                                i'Aiscellaneous Civil Petition
          false arrest) (not civfl                 Drugs (38) (!f the case involves il/ega/             Partnership and Corporrate
            harassmanf) (08)                       drugs, check this item; othenvfse,                     Govemance (21)
    Defamation (e.g., slander, libel)              report as Commercial or Residential)               Other Petition (not specified
          (13)                                  Judlclal Review                                          above) (43)
    Fraud (16)                                     Asset Forfeiture (05)                                 Civil Harassment
    Inte[lectuai Property (19)                     Petition Re: Arbitration Award (11)                   Workplace Vio[ence
    Professional Negligence (25)                   Writ of Mandate (02)                                  Elder/DepandentAdult
       Legal Malpractice                               Writ-Administrative Mandamus                           Abuse
       Other Professional Malpractice                  Writ-Mandamus on Limted i Court                   Elec#ion Contest
            (not medical or /egaQ                         Case Mafter                                    Petition for Name Change
    Other Non-PI/PD/WD Tort (35)                       WritOther Limited Court Case                      Petition for Relief From Late
 Employment                                               Review                                              Claim
    Wrongful Termination (36)                      Other Judfcial Review (39)                            Other Civil Petition
    Other Employment (15)                              Review of Health Officer Order
                                                       Notice of Appeal-Labor
                                                            CommissionerAoneals
CM-010 [Rev. Septomber 1 , 2021]                        CIVIL CBaSE COVER SHEET                                                            Page 2 of 2
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13 1                       SUI'ERIOIt CO1JR'1' OI+ TIl[E STATF OE CAGWORNIA
   i
14                                 F'OR TIFIE COUNTY OI' SAC.'R11MENTO
15
16 MARK COLE, on BehalfofHimself and All               Case No:
   Others Sinularly Situa.ted,
17                                                     CLASS ACTION
                          Plaitrtifl;
18                                                     COl'a4PI..AiNT p'ORe
               V.
19
   COLOMAL PENN L1FE INSURANCE                         STAT[PI'ORY I)A1VtTAGES AND
20 CONII'ANY, and DOES 1 through .100,                 [Pd.iiNC"'I'IiTE 1tELIEE
   inclusive,
21
                                                       DEMA1VI) Ii`OR JTJRi' TI<tI:AL,
22
                              Defenciaiits.
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       CLASS ACT10N COMPLAINT
  1               Plaintifflvlark Cole ("Plaintiff'), brings this action against Defendant Colonial Penn Life
      I,
  2 Insurance Company and DOES 1-100 (collectively referred to as "Colonial Penn" or

  3 "Defendant") on bebalf of himself, and all others similarly situated, upon information and belief,

  4 except as to his own actions, the investigation his counsel,
                                                   of            and the facts that are a rratter of
  5 public record, as follows:

  6                                               Ii+d'MODiJCTION
 71              1.      This class action arises out Defendant's policy and practice to record, without the
  8 consent of all parties, telephone calls niade to Defendant's
                                                                 toll-free customer service telephone
 9. number in violation of California's Invasion of Privacy Act, Califomia Penal Code §630, et seq.

10 Defendant's toll-free number — 877-877-8052 — is referred to as "Defendant's customer service

11 sales nuenber." During the relevant time period, Defendant intentionally and surreptitiously

12 recorded telephone communications made to Defendant's customer service sales number.
13 Defendant did so without warning or disclosing to inbound callers that their calls might be
14 recorded.

15               2.      Defendant's policy and practice of recording telephone conversations without the
16 consent of all parties violates the California lnvasion of Privacy Act (Penal Code §§ 630, et seq.

17 ("C1PA")). Specifically, Defendant's acts and practices violate Penal Code § 632.7. Penal Code
18 § 632.7 is violated the moment the recording of a telephone conmrnmication is niade without the
19 knowledge or consent of all pariies thereto, regardless of whether it is subsequently disclosed.

20 The only intent required is that the act of recording itself be done intentionally. There is no
21 i requisite intent on behalf of the party doing the surreptitious recording to break California law, or

22 ~ to invade the privacy rights of any other person. Nioreover, there is no requirement ueader Penal
   ,
23 Code § 632.7 that the conmranication be confidential.
24               3.     Penal Code § 630, et seq. plays an important role in protecting the privacy of
25 California residents. As recognized by the Califomia Supreme Court, secret recording "denies
26 the spealcer an important aspect of privacy of communication — the right to conteol the nature and
27 extent of the firsthand dissemination of his statements." Ribas v. Clark, 38 Cal. 3d 355, 361
28

           CLASS ACTION COMPLAIIVT                         1
  1 (1985) (citations onutted). The California Supreme Court has declared that California has a
  2 "strong and continuing interest in the full and vigorous application" of the provisions that
  3 prohibit "the recording of telephone conversations without the lrnowledge or consent of all
 4 parties to the conversations." Kearney v. Salomon Smith Barney, Inc., 39 Cal. 4th 95, 126

 5 (2006) (italics in original). In Kearney, the California Supreme Court explained that if a

 6 company wants to record calls as part of its routine business activity, it can avoid liability by

 7 giving an appropriate warning at the beginning of each call. "A business that adequately advises
 8 all parties to a telephone call, at the outset of the conversation, of its intent to record the call
 9 would not violate the provision." Id at 118. Furthernwre, businesses can take unfa.ir advantage

10 of consumers if they do not disclose that the calls are being recorded, by "selectively disclosing
11 recordings when disclosure serves the company's interest, but not volunteering the recordings'

12 existence (or quickly destroying theYn) when they would be detrimental to the company. .." Id
13 at 126. The California Supreme Court has declared that Penal Code § 632.7 makes it illegal to
14 record any conmnunication involving cellular or cordless telephones wifhout regard to whether

15 the conmrnmication is "confidential." Flanagan v. Flanagan, 27 Cal. 4th 766, 771, fn. 2(2002).
16 Moreover, in Smath v. LoanMe, Inc., 11 Cal. 5th 183, 202-203 (2021), the California Supreme

17 Court held that Penal Code "section 632.7 probibits parties as well as nonparties from
18 intentionally recording a conmmuucation transmitted between a cellular or cordless telephone and
19' another device without the consent of all parties to the connnunication."

20 j     4.      As a result of Defendant's violations, all individuals, who called Colonial Penn's
   I
21 customer service sales number, while they were in California and were recorded by Defendant

22 sirreptitiously and without disclosure are entitled to an award of statutory damages as set forth in
23 Penal Code § 637.2 and injunctive relief as detailed therein_
24

25          5.      This Court has subject matter jurisdiction over the cause of action asserted herein
26 pursuant to Article VI, § 10 ofthe California Constitution, California Penal Code §§ 632.7 and
27 637.2. In the aggregate, the damages caused to the members of the Class as deiined below
28

     CLASS P.CTION CONIPLAINT                           2
  1 exceed the jurisdictional minimum of this Court, but neither the Plaintiff nor any member of the
  2 Class individually has suffered dama.ges of, at least, $75,000.
  3              6.    This Court has personal jurisdiction over the Defendant named herein because
  4 Defendant does sufficient business in California, has sufficient niinimum contacts with California

  5 Ior otherwise intentionally avails itself of the niarkets within California through its sales,
  6 advertising and rmrketing to render the exercise of jurisdiction by California courts and the

  7 application of California law to the claims of the Plairitiffpernnissible under traditional notions of
 8 fair play and substantial justice. Specifically, Defendant advertises, markets and sells its
 9 insurance products through a variety of inedia formats in a niassive multi-prong advertising

10 campaign, including in digital, print, television commiercials and mail which target consumers
11. throughout California. Moreover, on information and belief, Defendant is licensed to do business

12 in California and is registered with the California Department of Insurance. Furkher, there is no
13 federal question at issue as the claims herein are based solely on California law.
14               7.    Venue is proper in this Court since because California Code of Civil Procedure
       I
15 §§395 and 395.5, and case law interpreting those sections, provide that if a foreign business
16 entity fails to designate with the office of the California Secretary of State a principal place of

17 business in California, it is subj ect to being sued in any counity in the State that plaintiff desires.
18 On information and belief, as of the date this Complaint is filed, Defendant is a foreign business
19 entity that has failed to designate a principal place of business in California with the office of the

20 Secretary of State.
21

22 .             A.    Plaintiff
23 I             8.    Plaintiff Mark Cole (herein referred to as "Plaintiff') is an individual and resident
24 of California. It is alleged that on September 7, 2023 and September 15, 2023, while Plaintiff

25 was physically present in the State of California, he called Colonial Penn's customer service
26 sales number 877-877-8052 and had telephonic communications with live representatives of
27 Defendant while using his cellular telephone. Plaintiffis informed and believes and thereon
28

           CLASS ACTION COMPLAINT                        3
  1 alleges, that the conmxinications
                                      were surreptitiously recorded by Defendant, without first
  2 providing him notice and without first obtaining his consent to record the telephone

  3 connnunications.

  4             D.    Defencan4
  5             9.    Defendant Colonial Penn Life Insurance Company is a Pennsylvania corporation,
  6 with its headquarters located in
                                     Philadelphia, Pennsylvania. Colonial Penn is a lead'ang life
  7 insurance company and offers its permanent whole life policies and guaranteed acceptance life

  8 insurance policies through inbound telephone calls with captive
                                                                    live agents, online, and mail in
  9 California and tbroughout
                              the United States as part of its direct-to-consumer strategies. Colonial
10 Penn advertises and markets its insurance products through a wide range of formats, including in
11 ( digital, print, television commercials, internet, and mail, which is aimed at California consumers.
      ~
12              10.   Plaintiff'is informed and believes, and based thereon alleges, that Defendatrt's
13 employees, agents, and representatives were and are directed, trained and instructed to, and do,
14 record inconung telephone conumtucations between the customer service representatives and

15 callers, including California callers.
16              C.    Doe Defendants
17              11.   The tnne names and capacities of defendants sued in this Complaint as DOES 1
18 through 100, inclusive, are currently unlmown to Plaintiff, who therefore sues such defendants by
19 such fictitious names. Plaintiffwill amend this Complaint to reflect the trae names and

20 ' capacities of the defendants designated herein as DOES 1 through 100 when such identities

21 I become known. For ease ofreference, Plaintiffwill refer to the named defendant Colonial Penn

22 Life Insurance Company and the DOE defendants collectively as "Defendants."
23              D.    Agency/Aid°ang AndAbetting
24              12.   A.t all times herein mentioned, Defendants, and each of them, were an agent or
25 joint ventarer of each of the other Defendants, and in doing the acts alleged herein, were acting
26 within the course and scope of such agency. Each Defendant had actual and/or constructive
27 luiowledge of the acts of each of the other Defendants, and ratified, approved, joined in,
28

          CLASS ACTTON COMPLAINT                       4
  1
       acquiesced and/or authorized the wrongfial acts of each co-defendant, and/or retained the benefits
  2    of said wrongful acts.
  3
               13.     Defendants, and each of them, aided and abetted, encouraged and rendered
 4
      I substantial assistance to the other Defendants in breaching their obligations to Plaintiff and the
 5     Class, as alleged herein. In taking action, as particularized herein, to aid and abet and
 6     substantially assist the commissions of these wrongful acts and other wrongdoings complained
 7     of, each of the Defendants acted with an awareness of its prirrary wrongdoing and realized that
 8'I its conduct would substantially assist the accomplishment of the wrongful conduct, wrongful
 9    goals, and wrongdoing.
10             14.     Whenever reference is made in tbis Complaint to any act of "Colonial Penn" or
11 ~"Defendant," such shall be deemed to mean that officers, directors, agents, employees, or

12 I representatives of the Defendant named in this lawsuit committed or authorized such acts, or
13 failed and omitted to adequately supervise or properly control or direct their employees while
14 engaged in the management~ direction, operation or control of the affairs of the Defendant and

15 did so within the scope oftheir employment or agency.
16                   CONDUCT GIMG RTSE T® THE VY®LA,TaDNS ®F THE 1LAVV
17            A.      Plalntifffs Conlact with Del'endant
18            15.     On September 7, 2023 and thereafter on September 15, 2023, while located at his
19 residence within California, Plaintiffplaced telephone calls to Defendant and while using his

20 . cellular telephone. On both occasions, Plaintiffcalled Colonial Penn's to11-free customer service

21 sales number at 877-877-8052. During the call on September 7, 2023, Plaintiff obtained

22 information with a live representative of Defendant about Colonial Penn's whole life insurance

23 I policies and obtained a quote for a policy. 'fhereafler, on September 15, 2023, Plaintiffcalled

24 Colonial Penn's customer service sales number at 877-877-8052 and confirmed details of the
25 original quote and had additional inquiries about Colonial Penn's life insurance products with a
26 live representative of Defendant. Plaintiffis informed and believes, and based thereon alleges,

27
28

      CLASS ACTlON CONIPLAINT                            5
  1 that the toll-free telephone number
                                        connected Plaintiffto Defendant's customer service sales
  2    representatives.
  3           16.     During these inbound telephone conurnuiications with employees, agents, or
 4 representatives of Defendant, Plaintiffrevealed sensitive, private, and confidential information,

       including but not linuted to bis full name, date of birth, home address, and ernail address. At no

       point during these inbound telephone communications was Plaintiff ever informed that his
       communications were being recorded. At no point during the inbound telephone connrnmications

      I did Plaintiffgive his consent for the telephone commmuucations to be recorded, and he was
 9 ~ entirely ianaware that Defendant was engaged in that practice during the telephone

10 I conmmuiications. On inforrnation and belief, these inbound telephone communications were
11 recorded by Defendant, without Plaintifes luiowledge or consent.

12            B.      Defendant's Conduct Violated Penal Code Penal Code § 632.7
13            17.     Plaintiff is informed and believes and thereon alleges, that Defendant recorded
14 said inbound telephone commmnucations. Defendant failed to verbally warn Plaintiff, at the

15 outset of the telephone communications, of Defendant's intent to record the cornmunications.
16 Defendant failed to provide an automated, pre-recorded warning at the call outset or a

17 periodically repeated, audible "beep tone" or other sound throughout the duration of the
18 telephone conmiunications to warn Plaintiffthat the conununications were being recorded.
19 Plaintiffdid not give, and could not have given conseirt for the telephone congmunications to be

20 ' recorded because she was entirely unaware that Defendant was engaged in that practice during

21 ~ the telephone conmiauucations.
   I
22            18.     Because Defendant failed to warn Plaintiff at the outset of the telephone
23 conunnnications that the conamunications were being recorded and her consent for recording of
24 the telephone conmunications never was sought, Plaintiffhad an objectivelyreasonable

25 expectation that his telephone commmuiications with Defendant's employees, agents, or
26 representatives were not being recorded. That recording occurred without his consent, is highly
27
28

      CLASS ACTION COMPI.AINT                           6
 1 offensive to Plaintiff and would be higbly
                                              offensive to a reasonable person, including members of
 2 the Class proposed herein.

 3 I~           19.     Plaintiff is further informed and believes and thereon alleges, that during the
        Class Period, Defendant has intentionally utilized certain computer hardware and/or software
        technology and/or other equipment ("Call Recording Technology') to execute a company-wide

        policy and practice of recording inbound telephone comrnnnications with callers, including
        California callers.

               20.      Plaintiff is fue-ther informed and believes and thereon alleges, that Defendant
 9 installed and/or utilized Call Recording Technology on its consumer-facing telephone line. This

10 Call Recording Technology enabled Defendant to record telephone corrnnunications with callers,
11 including California callers, and allowed them to store these recordings for various purposes.
12             21.     Plaintiff is fiarther infornied and believes and thereon alleges, that Defendant's
13 employees, agents, and representatives were and are directed, trained, and instructed to,
14 and did record inbound telephone communications made to Colonial Penia's toll-free customer
15 service sales nunber at 877-877-8052 from California callers, including Plaintiff, without their
16 consent.
17
18             22.     PlaiYrtiff brings this lawsuit on behalf of an ascertainable statewide Class
19, consisting of the following (the "Class"):

20             All persons who, while located in California at any time during the one-year
21             period of time preceding the filing of the Complaint in this matter and until said
22             practice is terminated ("Class Period"), called Defendant's customer service sales
23             number, from a cellular or cordless telephone, engaged in a telephone
24             conversation with Defendant's employee(s) or representative(s) and were recorded
25             by Defendant without warning or disclosure at the call outset.
26
27
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        CLASS ACTTON C0141PLAINT                         7
  1           23.    Excluded from the Class are all employees of Defendant, all attorneys and
  2 employees of Defendant's counsel, all attorneys and employees of Plaintifrs Coemsel, and the
 3 judicial officers to whomthis matter is assigned and their staff.
 4           24.     Plaintiff reserves the right under Rule 3.765 of the California Rules of Court to
  5 amend or otherwise alter the Class definition presented to the Court at the appropriate time, or
 6 propose or eliminate subclasses, in response to facts learned through discovery, legal argument

 7 Iadvanced by Defendant, or otherwise.
 8           25.     This action has been brought and may properly be maintained as a class action
 9'. pursuant to California Code of
                                      Civil Procedure § 382, and case law thereunder, to which the
10 California trial courts have been directed by the California Supreme Court to look for guidance.
11 (         26.     The members of the Class are so numerous that joinder of all members is
12 impracticable. While the exact number of Class members is untmown to Plaintiff at this time,
13 Plaintiff estinmtes that there are more than 100 persons. Moreover, Plaintiff alleges that the
14 precise number of Class members and their location can be ascertained though appropriate

15 discovery and records held by Defendant and/or Defendant's telephone company's and/or other
16 teleconununications and toll-free service providers' records regarding calls from California area
17 codes to Defendant's toll-free customer service sales telephone number. Such records, including

18 without liniitation call detail records, purchase records, customer records, call lists, and the secret
19 recordings thenlselves, can be used to determine the size of the Penal Code § 632.7 Class and to

20 determine the identities of individual Penal Code § 632.7 Class members. This information may
21 then be used to contact potential Class members.

22           27.    T'here is a well-defined conmmnity of interest in the questions law and fact
23 affecting the parties represented in this action.
2411         28.    Common questions of law and fact exist as to all members of the Class. These
25 common questions predominate over the questions affecting only individual members of the
26 Class.

27
28

       CLASS AC'ITON COMPLAINT                         8
  1
                29.    Among the questions of law and fact conmion to the Class are, inteY alia:
  2             a.     VJhether Defendant has or had a policy and practice of recording inbound
  3     telephone calls made to Colonial Penn's customcr service sales number at 877-877-8052;
 4             b.      VJhether Defendant installed Call Recording Tecbnology to implement its
       Ipolicy of recording inbound telephone calls with callers;

               C.      Whether Defendant's employees, agents, or representatives were directed, trained,
        and instructed to, and did, record inbound telephone calls with callers in order to inlplement the

        Defendant's policy and practice of recording telephone calls with callers;
 9'            d.      Whether Defendant's policy and practice of recording inbound telephone calls
10 included a policy and practice of warning Class menibers, including the Plaintiff, at the outset of
11 I each recorded telephone call that the telephone call was being recorded;

12             e.      Whether Defendant failed to warn Class members who participated in an inbound
13 telephone call with the Defendant that the telephone call was being recorded;
14             f.      Whether Defendant has or had a policy or practice of not obtaining consent to
15 record telephone ca11s made to Colonial Penn's customer service sales nuniber at 877-877-8052;
16             g.      Whether Defendant's recording ofPlaintiffs and Class rnembers' inbound
17 telephone calls without warning or disclosure at the call outset constitutes violations of
18 California Penal Code § 632.7;
19             h.      Whether Plaintifi'and each Class meniber are entitled to statutory danages of five
20 thousand dollars ($5,000) under California Penal Code § 637.2(a)(1) for each violation of

21 California Penal Code § 632.7; and

22 i           i.      Whether Plaintiff and Class members are entitled to injunctive relief under
23 i California Penal Code § 637.2(b) to enj oin or restrain the Defendant from connnitting further

24 I violations of California Penal Code § 632.7.

25             30.     Plaintiff's claims are typical of the claims of all of the other members of the Class.
26 PlaintifPs claims and the Class member's claims are based onthe saxrie legal theories and arise
27
28

       CLASS ACTiON CONfPLAINT                           G~
  1 11 from the same unlawful conduct, resulting in the same injury to Plaintiffand to all of the other

  2 1) Class members.
  3          31.     Plaintiffwill fairly and adequately represent the irrterests of the Class, he has no
  4 conflicts of interest with other Class members, is subj ect to no unique defenses, and has retained

 5 counsel competent and experienced in the prosecution of complex litigation and class actions.

 6           32.     A class action is superior to other available anethods for the fair and efficient

 7 adjudication of this controversy because joinder of all members is impracticable, the damages
 8 suffered by each Class member are low, the likelihood of individual Class mernbers prosecuting
 9. separate clairns is remote and individual Class members do not have a sigtuficant interest in
10 individually controlling the prosecution of separate actions. Itelief concerning Plaintiff's rights
11 under the laws alleged herein and with respect to the Class as a whole would be appropriate.

12 Plaintiff knows of no difficulty to be encountered in the management of this action which would
13 I preclude its maintenance as a class action.
14           33.     The prosecution of individual actions by California Penal Code § 632.7
15 Class members would run the risk of establishing inconsistent standards of conduct for

16 Defendant.

17           34.    Defendant has acted, or refused to act, on grounds generally applicable to the
18 Class, thereby maldng injunctive relief and statutory darnages pursuant to California Penal Code
19 § 637.2 appropriate with respect to the Class as a whole. Likewise, Defendant's conduct as

20 described above is unlawful, capable of repetition, and could continue unless restrained and
21 I enjoined by the Court.

22          35.     Plaintiff explicitly reserves the right to add additional class representatives,
23 provided tba.t Defendant is given an opporhanity to conduct discovery on the chosen
24 representative(s). Plaintiffwill identify and propose class representatives with the filing of

25 Plaintiffs motion for class certification.
26

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      CLASS ACTION CONlPLAINT                          10
  1                                        FIItST CAIJSE ®F ACTION
  2                     F®R VYOLATI®NS ®F CALIFORNIA PENAL C®DF & 638.7
  3       (By Plaintiff and the Class Against 1)efendant Colonnal Penn l.ife Insurance Company and
                                       IA®lES 1 tlaroeagh 100, Ineflnsive)
  4
               36.     Plaintiffre-alleges and incorporates by reference the allegations contained in the
  5~
        preceding paragraphs above as if fully set forth herein and fiutller alleges as follows.
  6
               37.     Dn September 7, 2023 and thereaffter on September 15, 2023, and while
 7
        physically present in California, Plaintiffused his cellular telephone to dial Defendant's
  8
        877-877-8052 customer service sales nutnber and participated in telephone connnunications with
 9
       I Defendant's live customer service sales representatives.
10
               38.    Plaintiff alleges on information and belief that, within the applicable statute of
11
        limitations, Plaintiff and the Class members, while physically present in California, called
12
        Defendarrt's customer service sales number 877-877-8052 and participated in telephone
13
        communications with live representatives of Defendant while using a cellular or cordless
14
       ; telephone, which conmnmications were recorded by Defendant without the consent of Plaintiff
15
        and the Class members. DefendarA did not notify Plaintiff and the Class members at the call
16
        outset that their corrnnunications were being recorded. Nor did Defendant provide an automated,
17
       pre-recorded warning at the call outset that their coninunications were being recorded. Further,
18
       there were no beeps or similar sounds throughout the duration of the telephone connnunications
19
       that would lead Plaintiff and the Class members to believe that their communications were being
20
       recorded.
21
               39.     Penal Code § 632.7 prohibits the intentional recording of any communication
22
       without the consent of all parties where at least one ofthe parlies to the conuniurication is using a
23
       cellular or cordless telephone. There is no requirement under Penal Code § 632.7 that the
24 '
       conmRanication be confidential. Defendant violated Penal Code § 632.7 in its telephone
25
       communications with Plaintiff and the Class during the Class Period. Plaintiff is inforrned and
26
       believes and thereon alleges that, Defendant as a standard business practice, has intentionally
27
28

       CLAss aCTION CoWr.AINT                            11
  111 made use of a Call Recording Technology that enabled Defendant to surreptitiously record

  2 11 commmuucations with Plaintiff and the Class members, that were made to telephone number

  3 (1 877-877-8052 on cellular or cordless telephones, without obtaining their consent.

  4           40.     Decause Defendant did not disclose to Plaintiffor Class members who called the

  5 telephone number 877-877-8052, at the call outset, that their calls were being recorded,

  6 Defendant did not obtain, and could not have obtained, Plaintiff or Class members consent to the

  7 recording of those conversations. Indeed, Plaintiff and the Class had an obj ectively reasonable

  8    expectation that their calls were not being recorded. That expectation and its obj ective
  9 reasonableness arises, in part, and is supported by the fact that: (1) Defendant is required by law

10 to inform persons it receives calls from, at the outset of the communication, of its intent to record

11 the calls; (2) Businesses that record telephone calls customarily do so inform the persons they

12 call or receive calls firom, at the outset of the conmnunication; and (3) Defendant did not infortn

13 Plaintiff and Class members who called 877-877-8052, at the outset of the conununications, that

14 their telephone conumuucations were being recorded, nor did Defendant seek to obtain their

15 consent to record. In the business-call context, the California Supreme Court has stated, "in light

16 ~ of the circumstances that California consumers are accustomed to being informed at the outset of

17 a telephone call whenever a business entity intends to record the call, it appears equally plaiasible

18 that, in the absence of such an advisement, a California consum.er reasonably would anticipate
19 that such a telephone call is not being recorded, particularly in view of the strong privacy interest
20 most persons bave with regard to the personal financial information frequently disclosed in such
21 calls." Kearney v. Salornon Srnith Barney, Inc., 39 Cal. 4th 95, 118 (2006).
22 I          41.    Due to these violations as set forthherein, Plaintiffand Class menibers are entitled
23 to an award of five thousand dollars ($5,000) per violation pursuant to California Penal Code
24 § 637.2(a)(1), even in the absence of proof of actual darnages, an amount deemed proper by the
25 California L.egislature. Plaintiffand the Class are also entitled to injunctive relief to enjoin
26 further violations pursuant to California Penal Code § 637.2(b).
27
28

       CLASS ACTION COMPLAINT                          12
              42.     Plaintiffand Class rrenabers are entitled to'recover reasonable attorneys' fees
 2     pursuant to California Code of Civi 1 Procedure § 1021.5, the substantial benefit doctrine and/or
 11    the conmns,n fund doctrine.
 ►•I                                        1'RAYEIt FOR RELIEF
 5            WiFR.EF®1tE, Plaintiff, on behalf ofhiniself and znen-bers of the Class, prays for
 6     judgrwnt against Defendant as follows:

 7            1.      For an order certifying this rmtter as a class action;
 8            2.      For an order declaring that Defendant's actions, as described herein, violate
 9. California Penal Code § 632.7;

10 ~          3.      For an order awarding PlaintiPf and each meniber of the Class statutory damages
11 of five thousand dollars ($5,000) per violationunder California Penal Code § 637.2(a)(1);

12            4.      For appropriate injunctive reliefunder California Penal Code § 637.2(b);
13            5.      For an award of attorneys' fees as authorized by statute including, but not linuted
14 to, the provisions of California Code of Civi1 Procedure § 1021.5, and as authorized under the

15 "common fund" doctrine, and as authorized by the "substantial benefit" doctrine;
16            6.      For costs of the suit incurred herein;

17;           7.      P'or prejudg=nt interest at the legal rate; and
18            8.      For such other and further relief as the Court rmy deem proper.
19

20                                      DEMAM FOIt J1tT[tY'fffZYAL
21            Plaintiffhereby deniands a trial by jury for Plaintiff and the Class on all claims so triable.

22
23 ~   Dated: Novernber 20, 2023
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26 ~                                                           ITodd lil1. FriedYnan
                                                               Adrian R. Bacon
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                                                      Attorneys for Pdaantaff and the Class
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       CL4Ss ACTION COMI'LAIN1'                         13
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  COURTHOUSE ADDRESS:
  Gordon D. Schaber Superior Court
  720 9th Street, Sacramento, CA 95814
 PLAINTIFFlPETITIONER:
 iVlark Cole et al
 DEFENDANTIRESPONDENT:
 Colonial Penn Life Insurance Company et al
                     Pri®TICE CF CASE ASSIGNMiEIVT                                       CASE NUnnBER:
                AP9® CASfE MAl*IAGEMENt' C®R1FEi4ENCE                                    23CV012045
                         (UNLlMlTE® CIVIL CASE)

Tp ALL PARTIES AiVD THEIR ATTORiVEYS OF RECORD:

                                           NCTICE OF CASE ASSIGR1MER9T

Pursuant to rule 3.734 of the California Rules of Court, this action is hereby assigned for limited purposes
to the judicial officers indicated below:

      PURP®SE                          ASSICidE® JU®GE                         C®URT L®CATI®N I      DEPARTMERiT
    LAW & M®1'I®h!                    Christopher E. Krueger                     Hall of Justice         54
 CASE MANAGELqENT                    Kenneth C. Mennemeier                     Gordon D. Schaber         36
     PROGRAM                                                                    Superior Court

Please refer to Chapter Two — Parts 3 and 4 of the Sacramento Superior Court Local Rules and the
Court's website for additional filing instructions and hearing reservation information.



                                  NC7'ICI= tn3F CASE MAP1a4GEIViENT C®NfFERENCE
fiearing Date
The above entitied action has been set for a case management conference at 5:30 AM on Noveenber 1,
2024 in Departenent 38 in accordance with California Rules of Court 3.722. You must be familiar with the
case and fully prepared ta participate effectively in the case management conference.
Case ittlanagernent Staternent
AII parties must fiie and serve a case management statement at least 15 caiendar days before the case
management conference. Parties are encouraged to fiie a singie joint case management statement.
Minimurn Reqtairernents
Prior to the fiiing of the case management statement, the parties shouid have done the following:
   a   Served all parties named in the compiaint within 60 days after the summons has been issued
   a   Ensured that all defendants and cross-defendants have answered, been dismissed, or had their
       defaults entered
   e   Met and conferred with all parties as required by CRC 3.724 to discuss and resolve issues set
       forth therein.


                                         N®TICE ®F CASE ASSIGNit!lEIdT
                                    APd® CASE MANAC9EMEfVT C®NFEREiVCE
                                           (URfLIMtI`I'Ei) CIVIL CASE)
   SHORT TITLE: COLE, et al. vs COLONIAL PENN LIFE
   INSi1RANCE CONIPANY, et al.                                               CASE N[JNLEER: 23CV012045

  Tentative Ruiing
  Following its review of the case management statement(s), the court may determine that
                                                                                                 a case
  management conference is not necessary. To determine whether an appearance
                                                                                     is required, the parties
  must check the court's tentative rulings after 2:00 p.m. on the Court day before
                                                                                   the Friday calendar by
  accessing the court's internet website at www.saccourt.ca.gov
  Remote Appearances
 Unless ordered to appear in person by the court, parties may appear remotely either telephon
                                                                                                   ically or by
 video conference via the Zoom video/audio conference platform with notice to the court
                                                                                             and all other
 parties in accordance with Code of Civil Procedure 367.75. If appearing remotely, parties
                                                                                              are required to
 participate in their hearing using a device that has video and/or audio capability (i.e. compute
                                                                                                  r,
 smartphone, or tablet). Although remote participation is not required, the coun: will presume
 are
                                                                                                all  parties
     appearing remotely for non-evidentiary civil hearings.
 Certiffication Filed in Lieu ®f Case iiflanagernent Staternent
 If parties in the action file a certification on a form provided by the court at least 15 calendar
                                                                                                    days prior to
 the date of the case management conference that the case is short cause (five hours or
                                                                                                less of trial
 time), that the pleading stage is complete and that the case will be ready for trial within
                                                                                               60 days, the case
 will be exempted from any further case management requirements and will be set for trial within
                                                                                                         60-1 a0
 days. The certification shall be filed in lieu of a case management statement.
 Case Managernent Orders
 At the case rnanagement conference, the court will consider whether the case should be ordered
                                                                                                       to
 judicial arbitration or referred to other forms of Altemative Dispute Resolution. Vl/hether or not a
                                                                                                      case
 management conference is held, the court will issue a case management order shortly after the
 scheduled conference date.
 Service mfi PJotice of Case Assignmgnt and Case Management Conference
Unless othenuise ordered by the court, plaintiff shall serve a copy of this notice on any party to the
complaint appearing after the court issued this notice. The cross-complainant shall have the same
obligation with respect to the cross-complaint.
Compliance
Failure to comply with this notice or to appear at the case management conference may result In the
imposition of sanctions (including dismissal of the case, striking of the answer, or payment of money).
Continuances
Case management conference(s) will not be continued except on a showing of good cause. If your
                                                                                                          case
management conference is continued on motion or by the court on its own motion all parties shall file
                                                                                                      and
serve a new case management statement at least 15 calendar days before the continued case
management conference.




Dated: 11/21/2023                                     By;
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                                                                    ~lefo~iasofteputy Clerk

                                   NOTICE OF CA►SE ASSICbBdIVIEAIT
                               AND CASE MANAGEMEAIT COIVFERENCE
                                     (t9i'dLIIV1ITE® CIVIL CASE)
